Information to identify the case:
Debtor 1              Daniel B Rosado                                                   Social Security number or ITIN        xxx−xx−9214
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
UNITED STATES BANKRUPTCY COURT                           NORTHERN DISTRICT OF
ALABAMA, NORTHERN DIVISION                                                              Date case filed for chapter 7 8/1/18
Case number:          18−82275−CRJ7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Daniel B Rosado

2.      All other names used in the
        last 8 years

3.     Address                               11002 Donneita Drive NW
                                             Huntsville, AL 35810

4.     Debtor's attorney                     Amy K Tanner                                           Contact phone 256 539−9899
                                             Bond Botes Syskstus Tanner & Ezzell PC
       Name and address                      225 Pratt Avenue NE                                    Email: ccaldwell@bondnbotes.com
                                             Huntsville, AL 35801−4008

5.     Bankruptcy trustee                    Tazewell T Shepard                                     Contact phone 256 512−9924
                                             Tazewell Shepard, Trustee
       Name and address                      PO Box 19045
                                             Huntsville, AL 35804
                                                                                                               For more information, see page 2 >
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Debtor Daniel B Rosado                                                                                             Case number 18−82275−CRJ7


6. Bankruptcy clerk's office                    400 Well Street                                               Hours open:
                                                P. O. Box 2775
    Documents in this case may be filed at this Decatur, AL 35602                                             8:00 a.m. − 4:00 p.m.
    address. You may inspect all records filed                                                                Monday−Friday
    in this case at this office or online at
    www.pacer.gov.
                                                                                                              Contact phone 256−584−7900

                                                                                                              Date: 8/1/18

7. Meeting of creditors                           September 21, 2018 at 11:00 AM                              Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              Madison County Courthouse, 6th
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Floor, Room 616, 100 Northside
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     Square, Huntsville, AL 35801


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 11/20/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2




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